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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: October 10, 2023.

                                                              __________________________________
                                                                      SHAD M. ROBINSON
                                                              UNITED STATES BANKRUPTCY JUDGE
  __________________________________________________________________


                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

    In re:                                       §
                                                 §       Case No. 23-10164-smr
    ASTRALABS, INC.,                             §
                                                 §       Chapter 7
              Debtor.                            §

                ORDER GRANTING TRUSTEE’S MOTION FOR
           EXPEDITED CONSIDERATION OF SECOND MOTION FOR
   EXTENSION OF DEADLINE TO ASSUME OR REJECT EXECUTORY CONTRACTS

             On this date, the Court considered the request for expedited / ex parte consideration

   (the “Motion to Expedite”) of Trustee’s Second Motion for Extension of Deadline to Assume or

   Reject Executory Contracts (the “Motion for Extension”). The Court finds that the Motion to

   Expedite complies with Title 11 of the United States Code, §§ 101 et seq., the Federal Rules of

   Bankruptcy Procedure, and the Local Bankruptcy Rules for the Western District of Texas, that

   notice thereof is adequate under the particular circumstances, and that the Motion to Expedite

   demonstrates that sufficient cause exists for shortening the normal response time and scheduling

   expedited consideration of the Motion for Extension. It is therefore:

             1.     ORDERED that the Motion to Expedite is GRANTED; it is further


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         2.    ORDERED that the Court will consider the Motion for Extension on an ex parte

               basis or on the date and time set forth above with the Court’s signature, if any.

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